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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

   UNITED STATES OF AMERICA,                 :
                                             :
          Plaintiff,                         :
                                             :
   v.                                        :      Case No. 8:05-cr-530-T-30EAJ
                                             :
   IRISLEIDY MORALES,                        :
                                             :
          Defendant.                         :
                                             :

                          FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the court upon the filing of the Motion (Dkt. #369)

   of the United States of America for a personal money judgment in the amount of

   $10,000.00 in United States currency, which, upon entry, shall become a final

   order of forfeiture as to defendant Irisleidy Morales.

          The court hereby finds that $10,000.00 in United States currency is the

   amount of funds obtained by the defendant as a result of his participation in the

   conspiracy as charged in Count One of the Indictment for which defendant pled

   guilty to a lesser included marijuana quantity. Accordingly, it is hereby

          ORDERED, ADJUDGED AND DECREED that for good cause shown, said

   Motion (Dkt. #369) of the United States is hereby GRANTED.

          It is FURTHER ORDERED that pursuant to the provisions 21 U.S.C. § 853,

   and Fed. R. Crim. P. 32.2(b)(2), defendant Irisleidy Morales is personally liable for

   a forfeiture money judgment in the amount of $10,000.00 in United States currency,

   which represents the amount of proceeds the defendant obtained as a result of his
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   participation in the conspiracy as charged in Count One of the Indictment for which

   defendant pled guilty to a lesser included marijuana quantity.

            IT IS FURTHER ORDERED that the United States may seek forfeiture of any

   of the defendant’s property up to the total value of the $10,000.00 money judgment

   as substitute assets in satisfaction of the judgment, pursuant to the provisions of 21

   U.S.C. § 853(p).

            The court retains jurisdiction to enter any further orders necessary for the

   forfeiture and disposition of any property, belonging to the defendant, that the United

   States is entitled to seek as substitute assets (up to the amount of the forfeiture

   money judgment), and to entertain any third party claims that may be asserted in

   these proceedings.

            DONE and ORDERED in Tampa, Florida on October 23, 2006.




   Copies to:
   Adelaide G. Few, AUSA
   Counsel of Record
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